USDC IN/ND case 2:05-cr-00143-PPS-PRC document 48 filed 01/06/06 page 1 of 5


                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                             HAMMOND DIVISION

UNITED STATES OF AMERICA                )
                                        )
                                        )
      v.                                )      No. 2:05-CR-143 PS
                                        )
RUDOLFO HEREDIA                         )




                        COURT’S PROPOSED VERDICT FORM




Date: January 5, 2005                   s/ Philip P. Simon
                                        Philip P. Simon, Judge
                                        United States District Court
USDC IN/ND case 2:05-cr-00143-PPS-PRC document 48 filed 01/06/06 page 2 of 5


                                       Verdict Form

Count 1

      As to Count 1 of the indictment, we the jury hereby find the defendant, Rudolfo Heredia:

      _____ Guilty          _____ Not Guilty



________________________________                  _________________
Foreperson                                        Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date

                                              2
USDC IN/ND case 2:05-cr-00143-PPS-PRC document 48 filed 01/06/06 page 3 of 5



________________________________         _________________
Juror                                    Date


________________________________         _________________
Juror                                    Date


________________________________         _________________
Juror                                    Date




                                     3
USDC IN/ND case 2:05-cr-00143-PPS-PRC document 48 filed 01/06/06 page 4 of 5


Count 2

      As to Count 2 of the indictment, we the jury hereby find the defendant, Rudolfo Heredia:

      _____ Guilty          _____ Not Guilty



________________________________                  _________________
Foreperson                                        Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date




                                              4
USDC IN/ND case 2:05-cr-00143-PPS-PRC document 48 filed 01/06/06 page 5 of 5


________________________________         _________________
Juror                                    Date


________________________________         _________________
Juror                                    Date


________________________________         _________________
Juror                                    Date




                                     5
